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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    BOBBY JOE DWAYNE MILLER,                       No. 2:22-cv-01094-DJC-CKD (PC)
12                      Plaintiff,
13            v.                                     ORDER
14    AMADOR COUNTY JAIL,
15                      Defendant.
16

17           Plaintiff, a state prisoner proceeding pro se, has filed this civil rights action

18   seeking relief under 42 U.S.C. § 1983. The matter was referred to a United States

19   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20           On March 23, 2023, the Magistrate Judge filed findings and recommendations

21   herein which were served on Plaintiff and which contained notice to Plaintiff that any

22   objections to the findings and recommendations were to be filed within fourteen

23   days. Plaintiff has not filed objections to the findings and recommendations.

24           The Court has reviewed the file and finds the findings and recommendations to

25   be supported by the record and by the Magistrate Judge’s analysis. Accordingly, IT IS

26   HEREBY ORDERED that:

27           1. The findings and recommendations filed March 23, 2023, are adopted in

28   full.
                                                     1
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 1            2. This action is dismissed without prejudice. See Local Rule 110; Fed. R. Civ.

 2   P. 41(b).

 3            3. All pending motions (ECF No. 17) are denied as moot.

 4            4. The Clerk of Court shall close this case.

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              IT IS SO ORDERED.
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 8   Dated:      June 20, 2023
                                                    Hon. Daniel J. Calabretta
 9                                                  UNITED STATES DISTRICT JUDGE
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